Case 4:09-cr-00043-SPF Document 40 Filed in USDC ND/OK on 04/15/09 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA




UNITED STATES OF AMERICA,                      )
                                               )
                           Plaintiff,          )
                                               )
v.                                             )      Case No. 09-CR-043-SPF
                                               )
LINDSEY KENT SPRINGER, and                     )
OSCAR AMOS STILLEY,                            )
                                               )
                           Defendants.         )


             NOTICE RE GOVERNMENT MOTION FOR LIMITED
              UNSEALING OF SEARCH WARRANT AFFIDAVIT
              AND MATERIALS FROM CASE 03-CR-00055-CVE


      COMES NOW, the United States of America, by and through its attorneys, David E.

O’Meilia, United States Attorney for the Northern District of Oklahoma, and Kenneth P.

Snoke, Assistant United States Attorney, and Charles A. O’Reilly, Trial Attorney, United

States Department of Justice, to advise this Honorable Court that, subsequent to the

Government’s filing of Unopposed Motion for Limited Unsealing of Search Warrant

Affidavit and Materials from Case 03-CR-00055CVE (Docket #39), Defendant Lindsey

Springer sent an electronic mail communication received at 3:42 p.m. today (Attachment A)

stating his apparent objection to the Government’s Unopposed Motion for Limited Unsealing

of Search Warrant Affidavit and Materials from Case 03-CR-00055-CVE.
Case 4:09-cr-00043-SPF Document 40 Filed in USDC ND/OK on 04/15/09 Page 2 of 3




      By previous electronic mails received earlier on this date from Defendants Springer

and Oscar Stilley, Defendants each advised that they did not oppose the Government’s

proposed motion. Attachment B. This notice is made to advise the Court that Defendants’

earlier acquiescence to the Government’s proposed motion appears to have been rescinded.




                                        Respectfully submitted,

                                        DAVID E. O’MEILIA
                                        United States Attorney




                                         /S/ Charles A. O’Reilly
                                        KENNETH P. SNOKE, OBA #08437
                                        Assistant United States Attorney
                                        CHARLES A. O’REILLY, CBA #160980
                                        Trial Attorney, United States Department of Justice
                                        110 West 7 th Street, Suite 300
                                        Tulsa, Oklahoma 74119
                                        (918) 382-2700




                                           2
Case 4:09-cr-00043-SPF Document 40 Filed in USDC ND/OK on 04/15/09 Page 3 of 3




                             CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April, 2009, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

       Lindsey K. Springer
       Pro Se Defendant

       Robert Scott Williams
       Stand-by Counsel for Defendant Springer

       Oscar A. Stilley
       Pro Se Defendant

       C. Robert Burton, IV
       Stand-by Counsel for Defendant Stilley


                                           /S/ Charles A. O’Reilly
                                          Assistant United States Attorney




                                             3
